Case 4:20-cv-00957-SDJ          Document 690-3 Filed 12/01/24           Page 1 of 1 PageID #:
                                          31578




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION

 THE STATE OF TEXAS, et al.,                     §
                                                 §
        Plaintiffs,                              §       Civil Action No. 4:20-cv-00957-SDJ
 v.                                              §
                                                 §
 GOOGLE LLC,                                     §
                                                 §
        Defendant.                               §




                                           ORDER

       Before the Court is Defendant Google LLC’s Motion to Strike Plaintiffs’ Jury Demand for

All Claims and Civil Penalties filed on December 1, 2024. Upon consideration of the motion, and

arguments in support thereof and in opposition thereto, it is hereby

       ORDERED that Defendant’s Motion is GRANTED; and it is hereby

       ORDERED that Plaintiffs’ Jury Demand is stricken.
